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        Fill in this information to identify your case:
        United States Bankruptcy Court for the:
        EASTERN DIST. OF CALIFORNIA

        Case number (if known):                                      Chapter you are filing under:
                                                                               Chapter 7
                                                                               Chapter 11
                                                                               Chapter 12
                                                                                                                                  Check if this is an
                                                                               Chapter 13
                                                                                                                                  amended filing



       Official Form 101
       Voluntary Petition for Individuals Filing for Bankruptcy                                                                                           12/17

       The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
       together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
       a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
       spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
       must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

       Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
       correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
       your name and case number (if known). Answer every question.



        Part 1:       Identify Yourself
                                              About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
       1.   Your full name
            Write the name that is on your
                                              Joyanne
            government-issued picture
                                              First Name                                             First Name
            identification (for example,
            your driver's license or          Marie
            passport).                        Middle Name                                            Middle Name

                                              Smith
            Bring your picture                Last Name                                              Last Name
            identification to your meeting
            with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


       2.   All other names you
            have used in the last 8           First Name                                             First Name
            years
                                              Middle Name                                            Middle Name
            Include your married or
            maiden names.
                                              Last Name                                              Last Name


       3.   Only the last 4 digits of
            your Social Security              xxx – xx –                   2        0       8    1   xxx – xx –
            number or federal                 OR                                                     OR
            Individual Taxpayer
            Identification number             9xx – xx –                                             9xx – xx –
            (ITIN)




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       Debtor 1     Joyanne Marie Smith                                                           Case number (if known)

                                          About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):

       4.   Any business names                   I have not used any business names or EINs.                 I have not used any business names or EINs.
            and Employer
            Identification Numbers
            (EIN) you have used in        Business name                                               Business name
            the last 8 years
                                          Business name                                               Business name
            Include trade names and
            doing business as names
                                          Business name                                               Business name

                                                      –                                                           –
                                          EIN                                                         EIN
                                                      –                                                           –
                                          EIN                                                         EIN
       5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                          1163 Forkleaf CT
                                          Number      Street                                          Number      Street




                                          Manteca                        CA       95337
                                          City                           State    ZIP Code            City                           State    ZIP Code

                                          San Joaquin
                                          County                                                      County

                                          If your mailing address is different from                   If Debtor 2's mailing address is different
                                          the one above, fill it in here. Note that the               from yours, fill it in here. Note that the court
                                          court will send any notices to you at this                  will send any notices to you at this mailing
                                          mailing address.                                            address.



                                          Number      Street                                          Number      Street


                                          P.O. Box                                                    P.O. Box


                                          City                           State    ZIP Code            City                           State    ZIP Code


       6.   Why you are choosing          Check one:                                                  Check one:
            this district to file for
            bankruptcy                           Over the last 180 days before filing this                   Over the last 180 days before filing this
                                                 petition, I have lived in this district longer              petition, I have lived in this district longer
                                                 than in any other district.                                 than in any other district.

                                                 I have another reason. Explain.                             I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)




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       Debtor 1     Joyanne Marie Smith                                                   Case number (if known)


        Part 2:      Tell the Court About Your Bankruptcy Case

       7.   The chapter of the         Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
            Bankruptcy Code you        for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
            are choosing to file
            under                           Chapter 7

                                            Chapter 11

                                            Chapter 12

                                            Chapter 13

       8.   How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                            court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                            pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                            behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                            Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                            By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                            than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                            fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                            Filing Fee Waived (Official Form 103B) and file it with your petition.


       9.   Have you filed for              No
            bankruptcy within the
            last 8 years?                   Yes.

                                       District                                               When                    Case number
                                                                                                     MM / DD / YYYY
                                       District                                               When                    Case number
                                                                                                     MM / DD / YYYY
                                       District                                               When                    Case number
                                                                                                     MM / DD / YYYY

       10. Are any bankruptcy               No
           cases pending or being
           filed by a spouse who is         Yes.
           not filing this case with
                                       Debtor                                                             Relationship to you
           you, or by a business
           partner, or by an           District                                               When                    Case number,
           affiliate?                                                                                MM / DD / YYYY   if known


                                       Debtor                                                             Relationship to you

                                       District                                               When                    Case number,
                                                                                                     MM / DD / YYYY   if known

       11. Do you rent your                 No.    Go to line 12.
           residence?                       Yes. Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                         and file it as part of this bankruptcy petition.



       Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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       Debtor 1     Joyanne Marie Smith                                                       Case number (if known)


        Part 3:      Report About Any Businesses You Own as a Sole Proprietor

       12. Are you a sole proprietor             No. Go to Part 4.
           of any full- or part-time             Yes. Name and location of business
           business?

           A sole proprietorship is a
                                                       Name of business, if any
           business you operate as an
           individual, and is not a
           separate legal entity such as               Number     Street
           a corporation, partnership, or
           LLC.

           If you have more than one                   City                                                    State          ZIP Code
           sole proprietorship, use a
           separate sheet and attach it                Check the appropriate box to describe your business:
           to this petition.
                                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                              None of the above

       13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
           Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
           Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
           are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
           debtor?
                                                 No.   I am not filing under Chapter 11.

                                                 No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
           For a definition of small
                                                       the Bankruptcy Code.
           business debtor, see
           11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                      Bankruptcy Code.


        Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

       14. Do you own or have any                No
           property that poses or is             Yes. What is the hazard?
           alleged to pose a threat of
           imminent and identifiable
           hazard to public health or
           safety? Or do you own
           any property that needs                     If immediate attention is needed, why is it needed?
           immediate attention?

           For example, do you own
           perishable goods, or
           livestock that must be fed, or              Where is the property?
           a building that needs urgent                                           Number   Street
           repairs?



                                                                                  City                                     State         ZIP Code




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       Debtor 1     Joyanne Marie Smith                                                         Case number (if known)


        Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
       15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
           whether you             You must check one:                                          You must check one:
           have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
           briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
           credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
           counseling.               certificate of completion.                                   certificate of completion.
                                      Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
           The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
           that you receive a
                                      I received a briefing from an approved credit                I received a briefing from an approved credit
           briefing about credit
                                      counseling agency within the 180 days before I               counseling agency within the 180 days before I
           counseling before
                                      filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
           you file for
                                      a certificate of completion.                                 a certificate of completion.
           bankruptcy. You
           must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
           check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
           following choices.         plan, if any.                                                plan, if any.
           If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
           you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
           to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                                      days after I made my request, and exigent                    days after I made my request, and exigent
           If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
           the court can              waiver of the requirement.                                   waiver of the requirement.
           dismiss your case,
           you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
           whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
           you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
           creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
           collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
           again.                     required you to file this case.                              required you to file this case.

                                      Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                      dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                      briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                                      If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                      still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                      You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                                      along with a copy of the payment plan you                    along with a copy of the payment plan you
                                      developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                      may be dismissed.                                            may be dismissed.

                                      Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                                      for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                                      I am not required to receive a briefing about                I am not required to receive a briefing about
                                      credit counseling because of:                                credit counseling because of:
                                          Incapacity.    I have a mental illness or a mental            Incapacity.   I have a mental illness or a mental
                                                         deficiency that makes me                                     deficiency that makes me
                                                         incapable of realizing or making                             incapable of realizing or making
                                                         rational decisions about finances.                           rational decisions about finances.
                                          Disability.    My physical disability causes me               Disability.   My physical disability causes me
                                                         to be unable to participate in a                             to be unable to participate in a
                                                         briefing in person, by phone, or                             briefing in person, by phone, or
                                                         through the internet, even after I                           through the internet, even after I
                                                         reasonably tried to do so.                                   reasonably tried to do so.
                                           Active duty. I am currently on active military                 Active duty. I am currently on active military
                                                         duty in a military combat zone.                                duty in a military combat zone.
       Official Form 101                           Voluntary   Petition  for Individuals
                                      If you believe you are not required to receive a   Filing for Bankruptcy
                                                                                                     If you believe you are not required to receive a page 5
                                      briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                      motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.
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       Debtor 1     Joyanne Marie Smith                                                       Case number (if known)


        Part 6:      Answer These Questions for Reporting Purposes
       16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
           have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                        No. Go to line 16b.
                                                        Yes. Go to line 17.

                                          16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                  money for a business or investment or through the operation of the business or investment.
                                                       No. Go to line 16c.
                                                       Yes. Go to line 17.

                                          16c.    State the type of debts you owe that are not consumer or business debts.


       17. Are you filing under
           Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

           Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
           any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
           excluded and
           administrative expenses                          No
           are paid that funds will be
                                                            Yes
           available for distribution
           to unsecured creditors?

       18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
           you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
           owe?                                  100-199                          10,001-25,000                      More than 100,000
                                                 200-999

       19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
           estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
           be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                                 $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

       20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
           estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
           be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                                 $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




       Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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       Debtor 1     Joyanne Marie Smith                                                    Case number (if known)


        Part 7:      Sign Below
       For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                      and correct.

                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                      or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                      proceed under Chapter 7.

                                      If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                      fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                      connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                      or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                      X /s/ Joyanne Marie Smith                                   X
                                          Joyanne Marie Smith, Debtor 1                               Signature of Debtor 2

                                          Executed on 05/15/2019                                      Executed on
                                                      MM / DD / YYYY                                                MM / DD / YYYY




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       Debtor 1     Joyanne Marie Smith                                                    Case number (if known)

       For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
       represented by one              eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                       relief available under each chapter for which the person is eligible. I also certify that I have delivered to
       If you are not represented by   the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
       an attorney, you do not need    certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
       to file this page.              is incorrect.



                                       X /s/ Michael K. Moore                                                Date 05/15/2019
                                          Signature of Attorney for Debtor                                        MM / DD / YYYY


                                          Michael K. Moore
                                          Printed name
                                          Law Office of Michael K. Moore
                                          Firm Name
                                          210 E Center ST
                                          Number          Street




                                          Manteca                                                    CA              95336
                                          City                                                       State           ZIP Code


                                          Contact phone (209) 373-5815                     Email address michael@mkmoorelaw.com


                                          246791                                                     CA
                                          Bar number                                                 State




       Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                            page 8
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        Fill in this information to identify your case and this filing:
        Debtor 1             Joyanne                  Marie                    Smith
                             First Name               Middle Name              Last Name

        Debtor 2
        (Spouse, if filing) First Name                Middle Name              Last Name


        United States Bankruptcy Court for the: EASTERN DIST. OF CALIFORNIA

        Case number
                                                                                                                                         Check if this is an
        (if known)
                                                                                                                                         amended filing



       Official Form 106A/B
       Schedule A/B: Property                                                                                                                                       12/15

       In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
       the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
       filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
       sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


        Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

       1.   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
                 No. Go to Part 2.
                 Yes. Where is the property?

       2.   Add the dollar value of the portion you own for all of your entries from Part 1, including any
            entries for pages you have attached for Part 1. Write that number here.............................................................                     $0.00


        Part 2:        Describe Your Vehicles

       Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
       you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


       3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

                No
                Yes

       3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
       Make:                     Hyundai                      Check one.                                          amount of any secured claims on Schedule D:
                                                                   Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
       Model:                    Sonata
                                                                   Debtor 2 only                           Current value of the                   Current value of the
       Year:                     2016                                                                      entire property?                       portion you own?
                                                                   Debtor 1 and Debtor 2 only
       Approximate mileage: 50,000                                 At least one of the debtors and another            $12,238.00                               $12,238.00
       Other information:
       "Good" condition. Private party resale                      Check if this is community property
       value per KBB.                                              (see instructions)
       4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
            Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
                No
                Yes

       5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
            entries for pages you have attached for Part 2. Write that number here.............................................................                $12,238.00



       Official Form 106A/B                                                 Schedule A/B: Property                                                                  page 1
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       Debtor 1        Joyanne Marie Smith                                                        Case number (if known)


        Part 3:          Describe Your Personal and Household Items
                                                                                                                            Current value of the
       Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                            portion you own?
                                                                                                                            Do not deduct secured
                                                                                                                            claims or exemptions.

       6.   Household goods and furnishings
            Examples: Major appliances, furniture, linens, china, kitchenware
                  No
                  Yes. Describe............
                                      Bedroom furniture, dressers, nightstands                                                          $525.00

       7.   Electronics
            Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                       music collections; electronic devices including cell phones, cameras, media players, games
                  No
                  Yes. Describe............
                                      TV, computer, camera, cell phone                                                                  $300.00

       8.   Collectibles of value
            Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                       stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
                  No
                  Yes. Describe............

       9.   Equipment for sports and hobbies
            Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                      canoes and kayaks; carpentry tools; musical instruments
                  No
                  Yes. Describe............

       10. Firearms
           Examples: Pistols, rifles, shotguns, ammunition, and related equipment
                  No
                  Yes. Describe............

       11. Clothes
           Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
                  No
                  Yes. Describe............
                                      Wearing apparel                                                                                   $300.00

       12. Jewelry
           Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                     gold, silver
                  No
                  Yes. Describe............
                                      Misc. costume jewelry                                                                             $125.00

       13. Non-farm animals
           Examples: Dogs, cats, birds, horses
                  No
                  Yes. Describe............

       14. Any other personal and household items you did not already list, including any health aids you
           did not list
                  No
                  Yes. Give specific
                  information......................


       Official Form 106A/B                                          Schedule A/B: Property                                                 page 2
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       Debtor 1          Joyanne Marie Smith                                                                                                   Case number (if known)

       15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
           attached for Part 3. Write the number here.......................................................................................................................                                          $1,250.00


         Part 4:            Describe Your Financial Assets
                                                                                                                                                                                                    Current value of the
       Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.

       16. Cash
           Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
                     petition
                   No
                   Yes.....................................................................................................................................................................................................
                                                                                                                                                            Cash: ...........................................

       17. Deposits of money
           Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
                     brokerage houses, and other similar institutions. If you have multiple accounts with the same
                     institution, list each.

                   No
                   Yes..............................                    Institution name:

                    17.1.        Checking account:                      Bank of America. Last 4 digits of acct. #: 3024                                                                                                  $300.00
       18. Bonds, mutual funds, or publicly traded stocks
           Examples: Bond funds, investment accounts with brokerage firms, money market accounts
                   No
                   Yes.............................. Institution or issuer name:

       19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
           an interest in an LLC, partnership, and joint venture
                   No
                   Yes. Give specific
                   information about
                   them...............................................
                                                      Name of entity:                                                                                               % of ownership:
       20. Government and corporate bonds and other negotiable and non-negotiable instruments
           Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
           Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
                   No
                   Yes. Give specific
                   information about
                   them...............................................
                                                      Issuer name:
       21. Retirement or pension accounts
           Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
                     profit-sharing plans
                   No
                   Yes. List each
                   account separately.                Type of account:                     Institution name:




       Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                    page 3
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       Debtor 1         Joyanne Marie Smith                                                                  Case number (if known)

       22. Security deposits and prepayments
           Your share of all unused deposits you have made so that you may continue service or use from a company
           Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
           companies, or others

                  No
                  Yes..............................                        Institution name or individual:
       23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
              No
              Yes.............................. Issuer name and description:
       24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
           26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
                  No
                  Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
       25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
           powers exercisable for your benefit
                  No
                  Yes. Give specific
                  information about them

       26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
           Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
                  No
                  Yes. Give specific
                  information about them

       27. Licenses, franchises, and other general intangibles
           Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
                  No
                  Yes. Give specific
                  information about them

       Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.

       28. Tax refunds owed to you

                  No
                  Yes. Give specific information                                                                                      Federal:
                  about them, including whether
                  you already filed the returns                                                                                       State:
                  and the tax years.....................................
                                                                                                                                      Local:

       29. Family support
           Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
                  No
                  Yes. Give specific information                                                                         Alimony:

                                                                                                                         Maintenance:

                                                                                                                         Support:

                                                                                                                         Divorce settlement:

                                                                                                                         Property settlement:



       Official Form 106A/B                                                         Schedule A/B: Property                                                       page 4
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       Debtor 1         Joyanne Marie Smith                                                                                 Case number (if known)

       30. Other amounts someone owes you
           Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
                     compensation, Social Security benefits; unpaid loans you made to someone else
                   No
                   Yes. Give specific information

       31. Interests in insurance policies
           Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
                   No
                   Yes. Name the insurance
                   company of each policy
                   and list its value................    Company name:                                                 Beneficiary:                                Surrender or refund value:
       32. Any interest in property that is due you from someone who has died
           If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
           entitled to receive property because someone has died
                   No
                   Yes. Give specific information

       33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
           Examples: Accidents, employment disputes, insurance claims, or rights to sue
                   No
                   Yes. Describe each claim..............

       34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
           rights to set off claims
                   No
                   Yes. Describe each claim..............

       35. Any financial assets you did not already list

                   No
                   Yes. Give specific information

       36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
           attached for Part 4. Write that number here.......................................................................................................................       $300.00


         Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

       37. Do you own or have any legal or equitable interest in any business-related property?

                   No. Go to Part 6.
                   Yes. Go to line 38.

                                                                                                                                                                        Current value of the
                                                                                                                                                                        portion you own?
                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                        claims or exemptions.
       38. Accounts receivable or commissions you already earned

                   No
                   Yes. Describe................




       Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 5
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       Debtor 1          Joyanne Marie Smith                                                                                Case number (if known)

       39. Office equipment, furnishings, and supplies
           Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
                      desks, chairs, electronic devices
                   No
                   Yes. Describe................

       40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

                   No
                   Yes. Describe................

       41. Inventory

                   No
                   Yes. Describe................

       42. Interests in partnerships or joint ventures

                   No
                   Yes. Describe................
                                       Name of entity:                                                                                       % of ownership:

       43. Customer lists, mailing lists, or other compilations

                   No
                   Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                           No
                           Yes. Describe..............

       44. Any business-related property you did not already list

                   No
                   Yes. Give specific information.

       45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
           attached for Part 5. Write that number here.......................................................................................................................          $0.00


         Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                       If you own or have an interest in farmland, list it in Part 1.

       46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

                   No. Go to Part 7.
                   Yes. Go to line 47.

                                                                                                                                                                        Current value of the
                                                                                                                                                                        portion you own?
                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                        claims or exemptions.
       47. Farm animals
           Examples: Livestock, poultry, farm-raised fish
                   No
                   Yes............................

       48. Crops--either growing or harvested

                   No
                   Yes. Give specific
                   information..........................




       Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
Filed 05/20/19                                                                         Case 19-23204                                                                                               Doc 1



       Debtor 1           Joyanne Marie Smith                                                                                        Case number (if known)

       49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

                    No
                    Yes..............................

       50. Farm and fishing supplies, chemicals, and feed

                    No
                    Yes..............................

       51. Any farm- and commercial fishing-related property you did not already list

                    No
                    Yes. Give specific
                    information..........................

       52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
           attached for Part 6. Write that number here.......................................................................................................................                         $0.00


         Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

       53. Do you have other property of any kind you did not already list?
           Examples: Season tickets, country club membership

                    No
                    Yes. Give specific information.


       54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                           $0.00


         Part 8: List the Totals of Each Part of this Form

       55. Part 1: Total real estate, line 2..............................................................................................................................................            $0.00

       56. Part 2: Total vehicles, line 5                                                                                  $12,238.00

       57. Part 3: Total personal and household items, line 15                                                               $1,250.00

       58. Part 4: Total financial assets, line 36                                                                              $300.00

       59. Part 5: Total business-related property, line 45                                                                         $0.00

       60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

       61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                                   Copy personal
       62. Total personal property.                     Add lines 56 through 61.................................           $13,788.00              property total                 +          $13,788.00



       63. Total of all property on Schedule A/B.                                                                                                                                                    $13,788.00
                                                                           Add line 55 + line 62.......................................................................................................




       Official Form 106A/B                                                                  Schedule A/B: Property                                                                                    page 7
Filed 05/20/19                                                   Case 19-23204                                                                    Doc 1


        Fill in this information to identify your case:
        Debtor 1            Joyanne              Marie                  Smith
                            First Name           Middle Name            Last Name
        Debtor 2
        (Spouse, if filing) First Name           Middle Name            Last Name

        United States Bankruptcy Court for the: EASTERN DIST. OF CALIFORNIA
                                                                                                                            Check if this is an
        Case number                                                                                                         amended filing
        (if known)

       Official Form 106C
       Schedule C: The Property You Claim as Exempt                                                                                                 04/19

       Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
       Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
       space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
       write your name and case number (if known).

       For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
       is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
       exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
       receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
       exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
       property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


        Part 1:        Identify the Property You Claim as Exempt

       1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
                 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
                 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

       2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
       Schedule A/B that lists this property                   the portion you      exemption you claim
                                                               own
                                                               Copy the value from Check only one box for
                                                               Schedule A/B        each exemption


       Brief description:                                         $12,238.00                  $5,850.00          C.C.P. § 703.140(b)(2)
       2016 Hyundai Sonata (approx. 50,000                                               100% of fair market
       miles)                                                                            value, up to any
       "Good" condition. Private party resale                                            applicable statutory
       value per KBB.                                                                    limit
       (1st exemption claimed for this asset)
       Line from Schedule A/B: 3.1




       3.   Are you claiming a homestead exemption of more than $170,350?
            (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

                 No
                 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                     No
                     Yes

       Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                page 1
Filed 05/20/19                                                Case 19-23204                                                             Doc 1



       Debtor 1      Joyanne Marie Smith                                                    Case number (if known)

        Part 2:        Additional Page
       Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
       Schedule A/B that lists this property               the portion you     exemption you claim
                                                           own
                                                           Copy the value from Check only one box for
                                                           Schedule A/B        each exemption

       Brief description:                                     $12,238.00                $6,388.00          C.C.P. § 703.140(b)(5)
       2016 Hyundai Sonata (approx. 50,000                                          100% of fair market
       miles)                                                                       value, up to any
       "Good" condition. Private party resale                                       applicable statutory
       value per KBB.                                                               limit
       (2nd exemption claimed for this asset)
       Line from Schedule A/B: 3.1

       Brief description:                                       $525.00                  $525.00           C.C.P. § 703.140(b)(3)
       Bedroom furniture, dressers, nightstands                                     100% of fair market
                                                                                    value, up to any
       Line from Schedule A/B:     6
                                                                                    applicable statutory
                                                                                    limit

       Brief description:                                       $300.00                  $300.00           C.C.P. § 703.140(b)(3)
       TV, computer, camera, cell phone                                             100% of fair market
                                                                                    value, up to any
       Line from Schedule A/B:     7
                                                                                    applicable statutory
                                                                                    limit

       Brief description:                                       $300.00                  $300.00           C.C.P. § 703.140(b)(3)
       Wearing apparel                                                              100% of fair market
                                                                                    value, up to any
       Line from Schedule A/B:    11
                                                                                    applicable statutory
                                                                                    limit

       Brief description:                                       $125.00                  $125.00           C.C.P. § 703.140(b)(4)
       Misc. costume jewelry                                                        100% of fair market
                                                                                    value, up to any
       Line from Schedule A/B:    12
                                                                                    applicable statutory
                                                                                    limit

       Brief description:                                       $300.00                  $300.00           C.C.P. § 703.140(b)(5)
       Bank of America. Last 4 digits of acct. #:                                   100% of fair market
       3024                                                                         value, up to any
       Line from Schedule A/B: 17.1                                                 applicable statutory
                                                                                    limit




       Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
Filed 05/20/19                                                     Case 19-23204                                                                    Doc 1


         Fill in this information to identify your case:
         Debtor 1             Joyanne               Marie                  Smith
                              First Name            Middle Name            Last Name

         Debtor 2
         (Spouse, if filing) First Name             Middle Name            Last Name


         United States Bankruptcy Court for the: EASTERN DIST. OF CALIFORNIA

         Case number
                                                                                                                              Check if this is an
         (if known)
                                                                                                                              amended filing

       Official Form 106D
       Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15

       Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
       correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
       On the top of any additional pages, write your name and case number (if known).


       1.      Do any creditors have claims secured by your property?
                    No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
                    Yes. Fill in all of the information below.

         Part 1:         List All Secured Claims

       2.      List all secured claims. If a creditor has more than one secured
               claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
               creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
               much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
               creditor's name.                                                                 value of collateral    claim                  If any

         2.1                                            Describe the property that
                                                        secures the claim:

       Creditor's name

       Number       Street


                                                        As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
       City                     State   ZIP Code
                                                            Disputed
       Who owes the debt? Check one.              Nature of lien. Check all that apply.
          Debtor 1 only
                                                     An agreement you made (such as mortgage or secured car loan)
          Debtor 2 only
                                                     Statutory lien (such as tax lien, mechanic's lien)
          Debtor 1 and Debtor 2 only
                                                     Judgment lien from a lawsuit
          At least one of the debtors and another
                                                     Other (including a right to offset)
          Check if this claim relates
          to a community debt
       Date debt was incurred                           Last 4 digits of account number




       Add the dollar value of your entries in Column A on this page. Write
       that number here:                                                                                     $0.00

       If this is the last page of your form, add the dollar value totals from
       all pages. Write that number here:                                                                    $0.00

       Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                          page 1
Filed 05/20/19                                                     Case 19-23204                                                                        Doc 1


         Fill in this information to identify your case:
         Debtor 1             Joyanne               Marie                  Smith
                              First Name            Middle Name            Last Name

         Debtor 2
         (Spouse, if filing) First Name             Middle Name            Last Name


         United States Bankruptcy Court for the: EASTERN DIST. OF CALIFORNIA

         Case number
                                                                                                                               Check if this is an
         (if known)
                                                                                                                               amended filing

       Official Form 106E/F
       Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

       Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
       claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
       on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
       Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
       If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
       to this page. On the top of any additional pages, write your name and case number (if known).


         Part 1:        List All of Your PRIORITY Unsecured Claims
       1.     Do any creditors have priority unsecured claims against you?
                   No. Go to Part 2.
                   Yes.

       2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
              claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
              show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
              more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
              claim, list the other creditors in Part 3.

              (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                             Total claim       Priority              Nonpriority
                                                                                                                               amount                amount

            2.1


       Priority Creditor's Name                                   Last 4 digits of account number
                                                                  When was the debt incurred?
       Number       Street
                                                                  As of the date you file, the claim is: Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
       City                            State   ZIP Code
       Who incurred the debt?        Check one.                   Type of PRIORITY unsecured claim:
            Debtor 1 only                                            Domestic support obligations
            Debtor 2 only                                            Taxes and certain other debts you owe the government
            Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
            At least one of the debtors and another                  intoxicated
            Check if this claim is for a community debt              Other. Specify
       Is the claim subject to offset?
            No
            Yes




       Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
Filed 05/20/19                                                      Case 19-23204                                                                         Doc 1



       Debtor 1       Joyanne Marie Smith                                                              Case number (if known)

         Part 2:        List All of Your NONPRIORITY Unsecured Claims

       3.     Do any creditors have nonpriority unsecured claims against you?
                   No. You have nothing to report in this part. Submit this form to the court with your other schedules.
                   Yes

       4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
              If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
              type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
              Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                                     Total claim

            4.1                                                                                                                                        $36,189.00
       Bank of America                                             Last 4 digits of account number         7     7    9     9
       Nonpriority Creditor's Name
                                                                   When was the debt incurred?           04/29/2004
       4909 Savarese CIR
       Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
       Tampa                           FL      33634
       City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
       Who incurred the debt?      Check one.
                                                                      Student loans
          Debtor 1 only
                                                                      Obligations arising out of a separation agreement or divorce
          Debtor 2 only
                                                                      that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                      Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another
                                                                      Other. Specify
              Check if this claim is for a community debt               Unsecured Loan
       Is the claim subject to offset?
            No
            Yes

            4.2                                                                                                                                          $1,817.00
       Capital One                                                 Last 4 digits of account number         0 2        8     2
       Nonpriority Creditor's Name
                                                                   When was the debt incurred?           09/2017
       PO Box 30281
       Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
       Salt Lake City                  UT      84130
       City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
       Who incurred the debt?      Check one.
                                                                      Student loans
          Debtor 1 only
                                                                      Obligations arising out of a separation agreement or divorce
          Debtor 2 only
                                                                      that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                      Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another
                                                                      Other. Specify
              Check if this claim is for a community debt               Credit Card
       Is the claim subject to offset?
            No
            Yes




       Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
Filed 05/20/19                                                   Case 19-23204                                                            Doc 1



       Debtor 1       Joyanne Marie Smith                                                         Case number (if known)

         Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
       After listing any entries on this page, number them sequentially from the
                                                                                                                                       Total claim
       previous page.

          4.3                                                                                                                             $3,716.00
       Capital One Bank Usa N                                   Last 4 digits of account number      4 7        2    6
       Nonpriority Creditor's Name
                                                                When was the debt incurred?        02/1997
       PO Box 30281
       Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
       Salt Lake City                UT      84130
       City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
       Who incurred the debt?      Check one.
                                                                   Student loans
          Debtor 1 only
                                                                   Obligations arising out of a separation agreement or divorce
          Debtor 2 only
                                                                   that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another
                                                                   Other. Specify
              Check if this claim is for a community debt           Credit Card
       Is the claim subject to offset?
            No
            Yes

          4.4                                                                                                                             $1,124.00
       Credit One Bank                                          Last 4 digits of account number      2 2        9    6
       Nonpriority Creditor's Name
                                                                When was the debt incurred?        09/2017
       PO Box 98872
       Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
       Las Vegas                     NV      89193
       City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
       Who incurred the debt?      Check one.
                                                                   Student loans
          Debtor 1 only
                                                                   Obligations arising out of a separation agreement or divorce
          Debtor 2 only
                                                                   that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another
                                                                   Other. Specify
              Check if this claim is for a community debt           Credit Card
       Is the claim subject to offset?
            No
            Yes




       Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
Filed 05/20/19                                                   Case 19-23204                                                            Doc 1



       Debtor 1       Joyanne Marie Smith                                                         Case number (if known)

         Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
       After listing any entries on this page, number them sequentially from the
                                                                                                                                       Total claim
       previous page.

          4.5                                                                                                                             $1,022.00
       Credit One Bank                                          Last 4 digits of account number      6 4 3           1
       Nonpriority Creditor's Name
                                                                When was the debt incurred?        09/21/2017
       PO Box 98872
       Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
       Las Vegas                     NV      89193
       City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
       Who incurred the debt?      Check one.
                                                                   Student loans
          Debtor 1 only
                                                                   Obligations arising out of a separation agreement or divorce
          Debtor 2 only
                                                                   that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another
                                                                   Other. Specify
              Check if this claim is for a community debt           Credit Card
       Is the claim subject to offset?
            No
            Yes

          4.6                                                                                                                               $171.00
       Diversified Consultant                                   Last 4 digits of account number      0 9        1    2
       Nonpriority Creditor's Name
                                                                When was the debt incurred?        03/2019
       PO Box 551268
       Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
       Jacksonville                  FL      32255
       City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
       Who incurred the debt?      Check one.
                                                                   Student loans
          Debtor 1 only
                                                                   Obligations arising out of a separation agreement or divorce
          Debtor 2 only
                                                                   that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another
                                                                   Other. Specify
              Check if this claim is for a community debt           Collection Attorney
       Is the claim subject to offset?
            No
            Yes




       Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
Filed 05/20/19                                                   Case 19-23204                                                            Doc 1



       Debtor 1       Joyanne Marie Smith                                                         Case number (if known)

         Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
       After listing any entries on this page, number them sequentially from the
                                                                                                                                       Total claim
       previous page.

          4.7                                                                                                                                 $0.00
       Equifax                                                  Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                When was the debt incurred?
       PO Box 740241
       Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
       Atlanta                       GA      30374
       City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
       Who incurred the debt?      Check one.
                                                                   Student loans
          Debtor 1 only
                                                                   Obligations arising out of a separation agreement or divorce
          Debtor 2 only
                                                                   that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another
                                                                   Other. Specify
              Check if this claim is for a community debt           Notice Only
       Is the claim subject to offset?
            No
            Yes

          4.8                                                                                                                                 $0.00
       Experian                                                 Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                When was the debt incurred?
       475 Anton BLVD
       Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
       Costa Mesa                    CA      92626
       City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
       Who incurred the debt?      Check one.
                                                                   Student loans
          Debtor 1 only
                                                                   Obligations arising out of a separation agreement or divorce
          Debtor 2 only
                                                                   that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another
                                                                   Other. Specify
              Check if this claim is for a community debt           Notice Only
       Is the claim subject to offset?
            No
            Yes




       Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 5
Filed 05/20/19                                                   Case 19-23204                                                            Doc 1



       Debtor 1       Joyanne Marie Smith                                                         Case number (if known)

         Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
       After listing any entries on this page, number them sequentially from the
                                                                                                                                       Total claim
       previous page.

          4.9                                                                                                                             $2,832.00
       Fortiva Retail Credit                                    Last 4 digits of account number      7 4 3           2
       Nonpriority Creditor's Name
                                                                When was the debt incurred?        11/02/2017
       5 Concourse PKWY
       Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
       Atlanta                       GA      30328
       City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
       Who incurred the debt?      Check one.
                                                                   Student loans
          Debtor 1 only
                                                                   Obligations arising out of a separation agreement or divorce
          Debtor 2 only
                                                                   that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another
                                                                   Other. Specify
              Check if this claim is for a community debt           Credit Card
       Is the claim subject to offset?
            No
            Yes

         4.10                                                                                                                             $4,814.00
       SYNCB                                                    Last 4 digits of account number      1 3        8    9
       Nonpriority Creditor's Name
                                                                When was the debt incurred?        07/2017
       PO Box 965036
       Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
       Orlando                       FL      32896
       City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
       Who incurred the debt?      Check one.
                                                                   Student loans
          Debtor 1 only
                                                                   Obligations arising out of a separation agreement or divorce
          Debtor 2 only
                                                                   that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another
                                                                   Other. Specify
              Check if this claim is for a community debt           Charge Account
       Is the claim subject to offset?
            No
            Yes




       Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 6
Filed 05/20/19                                                   Case 19-23204                                                            Doc 1



       Debtor 1       Joyanne Marie Smith                                                         Case number (if known)

         Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
       After listing any entries on this page, number them sequentially from the
                                                                                                                                       Total claim
       previous page.

         4.11                                                                                                                               $813.00
       TD Bank/Target                                           Last 4 digits of account number      2 6        6    4
       Nonpriority Creditor's Name
                                                                When was the debt incurred?        01/2013
       PO Box 673
       Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
       Minneapolis                   MN      55440
       City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
       Who incurred the debt?      Check one.
                                                                   Student loans
          Debtor 1 only
                                                                   Obligations arising out of a separation agreement or divorce
          Debtor 2 only
                                                                   that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another
                                                                   Other. Specify
              Check if this claim is for a community debt           Credit Card
       Is the claim subject to offset?
            No
            Yes

         4.12                                                                                                                             $4,534.00
       THD/CBNA                                                 Last 4 digits of account number      9 2        8    2
       Nonpriority Creditor's Name
                                                                When was the debt incurred?        05/2000
       PO Box 6497
       Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
       Sioux Falls                   SD      57117
       City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
       Who incurred the debt?      Check one.
                                                                   Student loans
          Debtor 1 only
                                                                   Obligations arising out of a separation agreement or divorce
          Debtor 2 only
                                                                   that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another
                                                                   Other. Specify
              Check if this claim is for a community debt           Charge Account
       Is the claim subject to offset?
            No
            Yes




       Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 7
Filed 05/20/19                                                   Case 19-23204                                                            Doc 1



       Debtor 1       Joyanne Marie Smith                                                         Case number (if known)

         Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
       After listing any entries on this page, number them sequentially from the
                                                                                                                                       Total claim
       previous page.

         4.13                                                                                                                                 $0.00
       Transunion                                               Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                When was the debt incurred?
       2 Baldwin PL
       Number        Street                                     As of the date you file, the claim is: Check all that apply.
       PO Box 1000                                                  Contingent
                                                                    Unliquidated
                                                                    Disputed
       Chester                       PA      19022
       City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
       Who incurred the debt?      Check one.
                                                                   Student loans
          Debtor 1 only
                                                                   Obligations arising out of a separation agreement or divorce
          Debtor 2 only
                                                                   that you did not report as priority claims
          Debtor 1 and Debtor 2 only
                                                                   Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another
                                                                   Other. Specify
              Check if this claim is for a community debt           Notice Only
       Is the claim subject to offset?
            No
            Yes




       Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 8
Filed 05/20/19                                                     Case 19-23204                                                            Doc 1



       Debtor 1       Joyanne Marie Smith                                                     Case number (if known)

        Part 4:        Add the Amounts for Each Type of Unsecured Claim

       6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
            28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                      Total claim

       Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
       from Part 1
                         6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                         6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                         6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                         6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                                      Total claim

       Total claims      6f.   Student loans                                                                6f.                     $0.00
       from Part 2
                         6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                             that you did not report as priority claims

                         6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                             debts

                         6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $57,032.00


                         6j.   Total.   Add lines 6f through 6i.                                            6j.             $57,032.00




       Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                        page 9
Filed 05/20/19                                                  Case 19-23204                                                                      Doc 1


        Fill in this information to identify your case:
        Debtor 1            Joyanne              Marie                  Smith
                            First Name           Middle Name            Last Name

        Debtor 2
        (Spouse, if filing) First Name           Middle Name            Last Name


        United States Bankruptcy Court for the: EASTERN DIST. OF CALIFORNIA

        Case number
                                                                                                                           Check if this is an
        (if known)
                                                                                                                           amended filing

       Official Form 106G
       Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

       Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
       correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
       On the top of any additional pages, write your name and case number (if known).


       1.   Do you have any executory contracts or unexpired leases?
                 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                 Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

       2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
            is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
            executory contracts and unexpired leases.

               Person or company with whom you have the contract or lease                   State what the contract or lease is for




       Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
Filed 05/20/19                                                       Case 19-23204                                                                    Doc 1


        Fill in this information to identify your case:
        Debtor 1             Joyanne                Marie                       Smith
                             First Name             Middle Name                 Last Name

        Debtor 2
        (Spouse, if filing) First Name              Middle Name                 Last Name


        United States Bankruptcy Court for the: EASTERN DIST. OF CALIFORNIA

        Case number
                                                                                                                               Check if this is an
        (if known)
                                                                                                                               amended filing



       Official Form 106H
       Schedule H: Your Codebtors                                                                                                                        12/15

       Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
       two married people are filing together, both are equally responsible for supplying correct information. If more space is
       needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
       page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


       1.   Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
                No
                Yes

       2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
            include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
                 No. Go to line 3.
                 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                     No
                     Yes
                      In which community state or territory did you live?               California    Fill in the name and current address of that person.

                      Clarance E Smith
                      Name of your spouse, former spouse, or legal equivalent
                      Deceased
                      Number        Street




                      City                                            State           ZIP Code

       3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
            person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
            creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
            Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

               Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                       Check all schedules that apply:




       Official Form 106H                                              Schedule H: Your Codebtors                                                            page 1
Filed 05/20/19                                                   Case 19-23204                                                                          Doc 1


        Fill in this information to identify your case:
            Debtor 1              Joyanne              Marie                  Smith
                                  First Name           Middle Name            Last Name                           Check if this is:
            Debtor 2                                                                                                   An amended filing
            (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                       A supplement showing postpetition
            United States Bankruptcy Court for the:   EASTERN DIST. OF CALIFORNIA
                                                                                                                       chapter 13 income as of the following date:
            Case number
            (if known)
                                                                                                                       MM / DD / YYYY
       Official Form 106I
       Schedule I: Your Income                                                                                                                              12/15

       Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
       responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
       include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
       about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
       your name and case number (if known). Answer every question.

        Part 1:          Describe Employment
       1.    Fill in your employment
             information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
             If you have more than one
             job, attach a separate page       Employment status             Employed                                           Employed
             with information about                                          Not employed                                       Not employed
             additional employers.
                                               Occupation             Retail Merchandiser
             Include part-time, seasonal,
             or self-employed work.            Employer's name        Lawrence Merchandising

             Occupation may include            Employer's address     1405 Xenium LN
             student or homemaker, if it                              Number Street                                      Number Street
             applies.




                                                                      Plymouth                     MN      55441
                                                                      City                         State   Zip Code      City                   State   Zip Code

                                               How long employed there?        3 yrs.

        Part 2:          Give Details About Monthly Income
       Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
       non-filing spouse unless you are separated.
       If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
       you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse

       2.    List monthly gross wages, salary, and commissions (before all             2.                  $227.50
             payroll deductions). If not paid monthly, calculate what the monthly wage
             would be.
       3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00

       4.    Calculate gross income. Add line 2 + line 3.                                 4.               $227.50


       Official Form 106I                                            Schedule I: Your Income                                                                page 1
Filed 05/20/19                                                                     Case 19-23204                                                                                    Doc 1



       Debtor 1        Joyanne Marie Smith                                                                                                Case number (if known)
                                                                                                                             For Debtor 1             For Debtor 2 or
                                                                                                                                                      non-filing spouse
            Copy line 4 here ...................................................................................................................
                                                                                                                        4.                  $227.50
       5.   List all payroll deductions:
            5a. Tax, Medicare, and Social Security deductions                                                        5a.                $17.42
            5b. Mandatory contributions for retirement plans                                                         5b.                 $0.00
            5c. Voluntary contributions for retirement plans                                                         5c.                 $0.00
            5d. Required repayments of retirement fund loans                                                         5d.                 $0.00
            5e. Insurance                                                                                            5e.                 $0.00
            5f. Domestic support obligations                                                                         5f.                 $0.00
            5g. Union dues                                                                                           5g.                 $0.00
            5h. Other deductions.
                 Specify: SDI                                                                                        5h. +                $2.25
       6.   Add the payroll deductions.                  Add lines 5a + 5b + 5c + 5d + 5e + 5f +                     6.                 $19.67
            5g + 5h.
       7.   Calculate total monthly take-home pay.                          Subtract line 6 from line 4.             7.               $207.83
       8.   List all other income regularly received:
            8a. Net income from rental property and from operating a                                                 8a.                  $0.00
                 business, profession, or farm
                   Attach a statement for each property and business showing
                   gross receipts, ordinary and necessary business expenses, and
                   the total monthly net income.
            8b. Interest and dividends                                                                               8b.                  $0.00
            8c. Family support payments that you, a non-filing spouse, or a                                          8c.                  $0.00
                dependent regularly receive
                   Include alimony, spousal support, child support, maintenance,
                   divorce settlement, and property settlement.
            8d. Unemployment compensation                                                                            8d.               $0.00
            8e. Social Security                                                                                      8e.           $2,018.00
            8f. Other government assistance that you regularly receive
                Include cash assistance and the value (if known) or any non-
                cash assistance that you receive, such as food stamps
                (benefits under the Supplemental Nutrition Assistance Program)
                or housing subsidies.
                Specify:                                                                                             8f.                  $0.00
            8g. Pension or retirement income                                                                         8g.                  $0.00
            8h. Other monthly income.
                Specify:                                                                                             8h. +                $0.00

       9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                   9.            $2,018.00

       10. Calculate monthly income. Add line 7 + line 9.                             10.     $2,225.83 +                      =                                                  $2,225.83
           Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
       11. State all other regular contributions to the expenses that you list in Schedule J.
           Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
           friends or relatives.

            Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

            Specify:                                                                                                                                               11.    +           $0.00

       12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                               12.            $2,225.83
           income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
           if it applies.                                                                                                                                                     Combined
                                                                                                                                                                              monthly income


       Official Form 106I                                                                Schedule I: Your Income                                                                       page 2
Filed 05/20/19                                             Case 19-23204                                              Doc 1



       Debtor 1      Joyanne Marie Smith                                                     Case number (if known)
       13. Do you expect an increase or decrease within the year after you file this form?
               No.           None.
                  Yes. Explain:




       Official Form 106I                                      Schedule I: Your Income                                  page 3
Filed 05/20/19                                        Case 19-23204                                                              Doc 1



       Debtor 1     Joyanne Marie Smith                                                     Case number (if known)


       1.   Additional Employers Debtor 1                                            Debtor 2 or non-filing spouse

            Occupation           Retail Merchandiser
            Employer's name      Preferred Store Service
            Employer's address   16845 N 29th AVE
                                 #625

                                 Phoenix                     AZ      85053
                                 City                        State   Zip Code        City                            State   Zip Code
            How long employed there?        1 mo.




       Official Form 106I                                  Schedule I: Your Income                                                  page 4
Filed 05/20/19                                                     Case 19-23204                                                                  Doc 1


        Fill in this information to identify your case:
                                                                                                                Check if this is:
            Debtor 1              Joyanne                Marie                  Smith                               An amended filing
                                  First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                                    chapter 13 expenses as of the
            Debtor 2
            (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

            United States Bankruptcy Court for the:    EASTERN DIST. OF CALIFORNIA                                    MM / DD / YYYY
            Case number
            (if known)

       Official Form 106J
       Schedule J: Your Expenses                                                                                                                        12/15
       Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
       correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
       name and case number (if known). Answer every question.


        Part 1:          Describe Your Household
       1.    Is this a joint case?

                   No. Go to line 2.
                   Yes. Does Debtor 2 live in a separate household?
                            No
                            Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
       2.    Do you have dependents?                  No
                                                      Yes. Fill out this information          Dependent's relationship to    Dependent's   Does dependent
             Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age           live with you?
                                                      for each dependent...................................
             Debtor 2.                                                                                                                          No
                                                                                                                                                Yes
             Do not state the dependents'
                                                                                                                                                No
             names.
                                                                                                                                                Yes
                                                                                                                                                No
                                                                                                                                                Yes
                                                                                                                                                No
                                                                                                                                                Yes
                                                                                                                                                No
                                                                                                                                                Yes
       3.    Do your expenses include                        No
             expenses of people other than                   Yes
             yourself and your dependents?




        Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
Filed 05/20/19                                                 Case 19-23204                                                              Doc 1



       Debtor 1     Joyanne Marie Smith                                                          Case number (if known)

        Part 2:       Estimate Your Ongoing Monthly Expenses
       Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
       to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
       the form and fill in the applicable date.
       Include expenses paid for with non-cash government assistance if you know the value of
       such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                         Your expenses

       4.   The rental or home ownership expenses for your residence.                                          4.                         $500.00
            Include first mortgage payments and any rent for the ground or lot.
            If not included in line 4:

            4a. Real estate taxes                                                                              4a.

            4b. Property, homeowner's, or renter's insurance                                                   4b.

            4c. Home maintenance, repair, and upkeep expenses                                                  4c.

            4d. Homeowner's association or condominium dues                                                    4d.




        Official Form 106J                                         Schedule J: Your Expenses                                                 page 2
Filed 05/20/19                                                    Case 19-23204                                                    Doc 1



       Debtor 1      Joyanne Marie Smith                                                        Case number (if known)

                                                                                                                   Your expenses

       5.   Additional mortgage payments for your residence, such as home equity loans                       5.

       6.   Utilities:

            6a. Electricity, heat, natural gas                                                               6a.                   $125.00
            6b. Water, sewer, garbage collection                                                             6b.                    $90.00
            6c. Telephone, cell phone, Internet, satellite, and                                              6c.                   $150.00
                cable services
            6d. Other. Specify:                                                                              6d.

       7.   Food and housekeeping supplies                                                                   7.                    $370.00
       8.   Childcare and children's education costs                                                         8.

       9.   Clothing, laundry, and dry cleaning                                                              9.                    $100.00
       10. Personal care products and services                                                               10.                    $75.00
       11. Medical and dental expenses                                                                       11.                    $75.00
       12. Transportation. Include gas, maintenance, bus or train                                            12.                   $475.00
           fare. Do not include car payments.
       13. Entertainment, clubs, recreation, newspapers,                                                     13.                   $150.00
           magazines, and books
       14. Charitable contributions and religious donations                                                  14.

       15. Insurance.
           Do not include insurance deducted from your pay or included in lines 4 or 20.

            15a.   Life insurance                                                                            15a.

            15b.   Health insurance                                                                          15b.

            15c.   Vehicle insurance                                                                         15c.                   $70.00
            15d.   Other insurance. Specify:                                                                 15d.
       16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
           Specify:                                                                                          16.

       17. Installment or lease payments:

            17a.   Car payments for Vehicle 1                                                                17a.

            17b.   Car payments for Vehicle 2                                                                17b.

            17c.   Other. Specify:                                                                           17c.

            17d.   Other. Specify:                                                                           17d.

       18. Your payments of alimony, maintenance, and support that you did not report as                     18.
           deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


       19. Other payments you make to support others who do not live with you.
           Specify:                                                                                          19.




        Official Form 106J                                          Schedule J: Your Expenses                                         page 3
Filed 05/20/19                                                 Case 19-23204                                                    Doc 1



       Debtor 1      Joyanne Marie Smith                                                              Case number (if known)

       20. Other real property expenses not included in lines 4 or 5 of this form or on
           Schedule I: Your Income.
           20a.    Mortgages on other property                                                                      20a.

           20b.    Real estate taxes                                                                                20b.

           20c.    Property, homeowner's, or renter's insurance                                                     20c.

           20d.    Maintenance, repair, and upkeep expenses                                                         20d.

           20e.    Homeowner's association or condominium dues                                                      20e.

       21. Other. Specify:                                                                                          21.    +
       22. Calculate your monthly expenses.

           22a.    Add lines 4 through 21.                                                                          22a.       $2,180.00
           22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

           22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.       $2,180.00

       23. Calculate your monthly net income.

           23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $2,225.83
           23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –   $2,180.00
           23c.    Subtract your monthly expenses from your monthly income.
                   The result is your monthly net income.                                                           23c.         $45.83

       24. Do you expect an increase or decrease in your expenses within the year after you file this form?

           For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
           payment to increase or decrease because of a modification to the terms of your mortgage?

                  No.
                  Yes. Explain here:
                       None.




        Official Form 106J                                         Schedule J: Your Expenses                                       page 4
Filed 05/20/19                                                                   Case 19-23204                                                                                                Doc 1


        Fill in this information to identify your case:
        Debtor 1                Joyanne                      Marie                         Smith
                                First Name                   Middle Name                   Last Name

        Debtor 2
        (Spouse, if filing) First Name                       Middle Name                   Last Name


        United States Bankruptcy Court for the: EASTERN DIST. OF CALIFORNIA

        Case number
                                                                                                                                                               Check if this is an
        (if known)
                                                                                                                                                               amended filing

       Official Form 106Sum
       Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                 12/15

       Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
       correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
       schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



        Part 1:          Summarize Your Assets

                                                                                                                                                                          Your assets
                                                                                                                                                                          Value of what you own
       1.   Schedule A/B: Property (Official Form 106A/B)

            1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................          $0.00


                                                                                                                                                                                $13,788.00
            1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................................................


                                                                                                                                                                                     $13,788.00
            1c. Copy line 63, Total of all property on Schedule A/B..........................................................................................................................................


        Part 2:          Summarize Your Liabilities

                                                                                                                                                                             Your liabilities
                                                                                                                                                                             Amount you owe

       2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................                                          $0.00

       3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                         $0.00
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.............................................................................


                                                                                                                                           +                 $57,032.00
            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                        Your total liabilities                          $57,032.00




       Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                      page 1
Filed 05/20/19                                                                Case 19-23204                                                                                            Doc 1



       Debtor 1       Joyanne Marie Smith                                                                                Case number (if known)


        Part 3:          Summarize Your Income and Expenses

       4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                $2,225.83
            Copy your combined monthly income from line 12 of Schedule I..............................................................................................................................

       5.   Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J.........................................................................................................         $2,180.00



        Part 4:          Answer These Questions for Administrative and Statistical Records

       6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

                  No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
                  Yes

       7.   What kind of debt do you have?

                  Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
                  family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
                  Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
                  this form to the court with your other schedules.

       8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
            Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                             $230.94


       9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                                                           Total claim

            From Part 4 on Schedule E/F, copy the following:

            9a. Domestic support obligations. (Copy line 6a.)                                                                                                 $0.00


            9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                                         $0.00


            9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                               $0.00

            9d. Student loans. (Copy line 6f.)                                                                                                                $0.00

            9e. Obligations arising out of a separation agreement or divorce that you did not report as                                                       $0.00
                priority claims. (Copy line 6g.)

            9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                                   +                      $0.00


            9g. Total.       Add lines 9a through 9f.                                                                                                         $0.00




       Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 2
Filed 05/20/19                                               Case 19-23204                                                                 Doc 1


        Fill in this information to identify your case:
        Debtor 1           Joyanne             Marie                Smith
                           First Name          Middle Name          Last Name

        Debtor 2
        (Spouse, if filing) First Name         Middle Name          Last Name


        United States Bankruptcy Court for the: EASTERN DIST. OF CALIFORNIA

        Case number
                                                                                                                    Check if this is an
        (if known)
                                                                                                                    amended filing

       Official Form 106Dec
       Declaration About an Individual Debtor's Schedules                                                                                     12/15

       If two married people are filing together, both are equally responsible for supplying correct information.

       You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
       concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
       $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below

           Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                 No

                 Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                                    Declaration, and Signature (Official Form 119).




           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
           true and correct.



           X /s/ Joyanne Marie Smith                              X
               Joyanne Marie Smith, Debtor 1                          Signature of Debtor 2

               Date 05/15/2019                                        Date
                    MM / DD / YYYY                                           MM / DD / YYYY




       Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
Filed 05/20/19                                                    Case 19-23204                                                                   Doc 1


        Fill in this information to identify your case:
        Debtor 1            Joyanne                 Marie                Smith
                            First Name              Middle Name          Last Name

        Debtor 2
        (Spouse, if filing) First Name              Middle Name          Last Name


        United States Bankruptcy Court for the: EASTERN DIST. OF CALIFORNIA

        Case number
                                                                                                                            Check if this is an
        (if known)
                                                                                                                            amended filing

       Official Form 107
       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/19

       Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
       correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
       your name and case number (if known). Answer every question.


        Part 1:       Give Details About Your Marital Status and Where You Lived Before

       1.   What is your current marital status?
               Married
               Not married

       2.   During the last 3 years, have you lived anywhere other than where you live now?
                No
                Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                          Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                                  lived there                                                           lived there
                                                                                              Same as Debtor 1                               Same as Debtor 1


               3637 Monmouth PL                                   From   10/2018                                                        From
               Number      Street                                                      Number      Street
                                                                  To     02/2019                                                        To


               Fremont                   CA       94538
               City                      State    ZIP Code                             City                      State   ZIP Code


               Debtor 1:                                          Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                                  lived there                                                           lived there
                                                                                              Same as Debtor 1                               Same as Debtor 1


               289 Maui Circle                                    From                                                                  From
               Number      Street                                                      Number      Street
                                                                  To                                                                    To


               Union City                CA       94587
               City                      State    ZIP Code                             City                      State   ZIP Code




       Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
Filed 05/20/19                                                   Case 19-23204                                                                  Doc 1



       Debtor 1       Joyanne Marie Smith                                                        Case number (if known)

       3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
            (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
            Washington, and Wisconsin.)
                  No
                  Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

        Part 2:         Explain the Sources of Your Income
       4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
            Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
            If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                  No
                  Yes. Fill in the details.

                                                           Debtor 1                                        Debtor 2

                                                         Sources of income          Gross income          Sources of income         Gross income
                                                         Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                                    and exclusions                                  and exclusions

       From January 1 of the current year until              Wages, commissions,               $906.62       Wages, commissions,
       the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                             Operating a business                            Operating a business


       For the last calendar year:                           Wages, commissions,             $7,988.00       Wages, commissions,
                                                             bonuses, tips                                   bonuses, tips
       (January 1 to December 31, 2018 )
                                         YYYY                Operating a business                            Operating a business


       For the calendar year before that:                    Wages, commissions,            $20,133.00       Wages, commissions,
                                                             bonuses, tips                                   bonuses, tips
       (January 1 to December 31, 2017 )
                                         YYYY                Operating a business                            Operating a business

       5.   Did you receive any other income during this year or the two previous calendar years?
            Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
            unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
            and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
            Debtor 1.

            List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                  No
                  Yes. Fill in the details.


                                                           Debtor 1                                        Debtor 2

                                                         Sources of income           Gross income         Sources of income          Gross income
                                                         Describe below.             from each source     Describe below.            from each source
                                                                                     (before deductions                              (before deductions
                                                                                     and exclusions                                  and exclusions

       From January 1 of the current year until          Social Security                    $10,090.00
       the date you filed for bankruptcy:




       Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
Filed 05/20/19                                                    Case 19-23204                                                                 Doc 1



       Debtor 1         Joyanne Marie Smith                                                        Case number (if known)



       For the last calendar year:
       (January 1 to December 31, 2018 )
                                     YYYY



       For the calendar year before that:
       (January 1 to December 31, 2017 )
                                     YYYY


        Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
       6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

                  No.    Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                         "incurred by an individual primarily for a personal, family, or household purpose."

                         During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                            No. Go to line 7.

                            Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                                 total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                                 child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                         * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

                  Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                         During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                            No. Go to line 7.

                            Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                                 creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                                 Also, do not include payments to an attorney for this bankruptcy case.

       7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
            Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
            corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
            agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
            such as child support and alimony.

                  No
                  Yes. List all payments to an insider.




       Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 3
Filed 05/20/19                                                     Case 19-23204                                                                    Doc 1



       Debtor 1         Joyanne Marie Smith                                                        Case number (if known)

       8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
            benefited an insider?
            Include payments on debts guaranteed or cosigned by an insider.

                  No
                  Yes. List all payments that benefited an insider.




        Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
       9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
            List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
            modifications, and contract disputes.

                  No
                  Yes. Fill in the details.

       10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
           seized, or levied?
           Check all that apply and fill in the details below.

                  No. Go to line 11.
                  Yes. Fill in the information below.

       11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
           amounts from your accounts or refuse to make a payment because you owed a debt?

                  No
                  Yes. Fill in the details.

       12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
           creditors, a court-appointed receiver, a custodian, or another official?

                  No
                  Yes

        Part 5:          List Certain Gifts and Contributions
       13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

                  No
                  Yes. Fill in the details for each gift.




       Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 4
Filed 05/20/19                                                       Case 19-23204                                                                Doc 1



       Debtor 1       Joyanne Marie Smith                                                         Case number (if known)

       14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
           to any charity?


                  No
                  Yes. Fill in the details for each gift or contribution.

         Part 6:        List Certain Losses
       15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
           other disaster, or gambling?

                  No
                  Yes. Fill in the details.

         Part 7:        List Certain Payments or Transfers
       16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
           anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
              Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

                  No
                  Yes. Fill in the details.

                                                              Description and value of any property transferred        Date payment        Amount of
       Law Office of Michael K. Moore                         Fee for representation in this bankruptcy                or transfer was     payment
       Person Who Was Paid                                    proceeding.                                              made

       210 E Center ST                                                                                                    5/15/2019            $1,195.00
       Number      Street




       Manteca                       CA       95336
       City                          State    ZIP Code

       www.mkmoorelaw.com
       Email or website address


       Person Who Made the Payment, if Not You

                                                              Description and value of any property transferred        Date payment        Amount of
       Dollar Learning Foundation, Inc.                       Fee for mandatory pre-filing counseling.                 or transfer was     payment
       Person Who Was Paid                                                                                             made

                                                                                                                          5/19/2019             $14.95
       Number      Street




       City                          State    ZIP Code

       www.bothcourses.com
       Email or website address


       Person Who Made the Payment, if Not You




       Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 5
Filed 05/20/19                                                 Case 19-23204                                                                    Doc 1



       Debtor 1       Joyanne Marie Smith                                                       Case number (if known)

       17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
           anyone who promised to help you deal with your creditors or to make payments to your creditors?
           Do not include any payment or transfer that you listed on line 16.

                  No
                  Yes. Fill in the details.

       18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
           property transferred in the ordinary course of your business or financial affairs?
           Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
           Do not include gifts and transfers that you have already listed on this statement.


                  No
                  Yes. Fill in the details.

       19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
           you are a beneficiary? (These are often called asset-protection devices.)
                  No
                  Yes. Fill in the details.

        Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
       20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
           benefit, closed, sold, moved, or transferred?
           Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
           houses, pension funds, cooperatives, associations, and other financial institutions.

                  No
                  Yes. Fill in the details.

       21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
           for securities, cash, or other valuables?

                  No
                  Yes. Fill in the details.

       22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
              No
              Yes. Fill in the details.




       Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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       Debtor 1       Joyanne Marie Smith                                                     Case number (if known)

        Part 9:         Identify Property You Hold or Control for Someone Else
       23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
           or hold in trust for someone.

                  No
                  Yes. Fill in the details.


        Part 10:        Give Details About Environmental Information
       For the purpose of Part 10, the following definitions apply:

          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
          hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
          including statutes or regulations controlling the cleanup of these substances, wastes, or material.
          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
          utilize it or used to own, operate, or utilize it, including disposal sites.

          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
          substance, hazardous material, pollutant, contaminant, or similar item.

       Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

       24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
           law?


                  No
                  Yes. Fill in the details.

       25. Have you notified any governmental unit of any release of hazardous material?
              No
              Yes. Fill in the details.

       26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
           orders.

                  No
                  Yes. Fill in the details.




       Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 7
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       Debtor 1       Joyanne Marie Smith                                                             Case number (if known)

        Part 11:        Give Details About Your Business or Connections to Any Business
       27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
           business?

                       A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                       A member of a limited liability company (LLC) or limited liability partnership (LLP)
                       A partner in a partnership
                       An officer, director, or managing executive of a corporation
                       An owner of at least 5% of the voting or equity securities of a corporation

                  No. None of the above applies. Go to Part 12.
                  Yes. Check all that apply above and fill in the details below for each business.

       28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
           all financial institutions, creditors, or other parties.

                  No
                  Yes. Fill in the details below.

        Part 12:        Sign Below
       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
       that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
       property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
       or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



       X /s/ Joyanne Marie Smith                                    X
          Joyanne Marie Smith, Debtor 1                                 Signature of Debtor 2

          Date       05/15/2019                                         Date

       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

           No
           Yes

       Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

           No
           Yes. Name of person                                                                              Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                            Declaration, and Signature (Official Form 119).




       Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8
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       Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)    page 1
Filed 05/20/19                                        Case 19-23204                                                      Doc 1




       Notice Required by 11 U.S.C. § 342(b) for
       Individuals Filing for Bankruptcy (Form 2010)



         This notice is for you if:
                                                                       Chapter 7: Liquidation

            You are an individual filing for bankruptcy,
            and                                                               $245    filing fee
                                                                               $75    administrative fee
            Your debts are primarily consumer debts.                   +       $15    trustee surcharge
            Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                              $335    total fee
            as "incurred by an individual primarily for a
            personal, family, or household purpose."
                                                                       Chapter 7 is for individuals who have financial difficulty
                                                                       preventing them from paying their debts and who are
                                                                       willing to allow their non-exempt property to be used to
       The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
       to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                       bankruptcy discharge relieves you after bankruptcy from
                                                                       having to pay many of your pre-bankruptcy debts.
                                                                       Exceptions exist for particular debts, and liens on
       Individuals who meet the qualifications may file under one
                                                                       property may still be enforced after discharge. For
       of four different chapters of the Bankruptcy Code:
                                                                       example, a creditor may have the right to foreclose a
                                                                       home mortgage or repossess an automobile.
           Chapter 7 -- Liquidation
                                                                       However, if the court finds that you have committed
           Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                       Bankruptcy Code, the court may deny your discharge.
           Chapter 12 -- Voluntary repayment plan for family
                         farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                       you receive a discharge, some debts are not discharged
                                                                       under the law. Therefore, you may still be responsible to
           Chapter 13 -- Voluntary repayment plan for
                                                                       pay:
                         individuals with regular income
                                                                            most taxes;
       You should have an attorney review your                              most student loans;
       decision to file for bankruptcy and the choice
       of chapter.                                                          domestic support and property settlement obligations;




       Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 2
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           most fines, penalties, forfeitures, and criminal            for your state of residence and family size, depending
           restitution obligations; and                                on the results of the Means Test, the U.S. trustee,
                                                                       bankruptcy administrator, or creditors can file a motion to
           certain debts that are not listed in your bankruptcy        dismiss your case under § 707(b) of the Bankruptcy
           papers.                                                     Code. If a motion is filed, the court will decide if your
                                                                       case should be dismissed. To avoid dismissal, you may
       You may also be required to pay debts arising from:             choose to proceed under another chapter of the
                                                                       Bankruptcy Code.
           fraud or theft;
                                                                       If you are an individual filing for chapter 7 bankruptcy, the
           fraud or defalcation while acting in breach of fiduciary
                                                                       trustee may sell your property to pay your debts, subject
           capacity;
                                                                       to your right to exempt the property or a portion of the
                                                                       proceeds from the sale of the property. The property,
           intentional injuries that you inflicted; and
                                                                       and the proceeds from property that your bankruptcy
           death or personal injury caused by operating a motor        trustee sells or liquidates that you are entitled to, is
           vehicle, vessel, or aircraft while intoxicated from         called exempt property. Exemptions may enable you to
           alcohol or drugs.                                           keep your home, a car, clothing, and household items or
                                                                       to receive some of the proceeds if the property is sold.
       If your debts are primarily consumer debts, the court can
       dismiss your chapter 7 case if it finds that you have           Exemptions are not automatic. To exempt property, you
       enough income to repay creditors a certain amount. You          must list it on Schedule C: The Property You Claim as
       must file Chapter 7 Statement of Your Current Monthly           Exempt (Official Form 106C). If you do not list the
       Income (Official Form 122A-1) if you are an individual filing   property, the trustee may sell it and pay all of the
       for bankruptcy under chapter 7. This form will determine        proceeds to your creditors.
       your current monthly income and compare whether your
       income is more than the median income that applies in
       your state.

       If your income is not above the median for your state,
                                                                       Chapter 11: Reorganization
       you will not have to complete the other chapter 7 form,
       the Chapter 7 Means Test Calculation (Official Form                  $1,167    filing fee
       122A-2).                                                               $550    administrative fee
                                                                       +
       If your income is above the median for your state, you must          $1,717    total fee
       file a second form--the Chapter 7 Means Test Calculation
       (Official Form 122A-2). The calculations on the form--          Chapter 11 is often used for reorganizing a business, but
       sometimes called the Means Test-- deduct from your              is also available to individuals. The provisions of chapter
       income living expenses and payments on certain debts to         11 are too complicated to summarize briefly.
       determine any amount available to pay unsecured
       creditors. If your income is more than the median income




       Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                               page 3
Filed 05/20/19                                        Case 19-23204                                                        Doc 1


               Read These Important Warnings

               Because bankruptcy can have serious long-term financial and legal consequences, including loss of
               your property, you should hire an attorney and carefully consider all of your options before you file.
               Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
               and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
               properly and protect you, your family, your home, and your possessions.

               Although the law allows you to represent yourself in bankruptcy court, you should understand that
               many people find it difficult to represent themselves successfully. The rules are technical, and a
               mistake or inaction may harm you. If you file without an attorney, you are still responsible for
               knowing and following all of the legal requirements.

               You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
               necessary documents.

               Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
               bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
               fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
               to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                       Under chapter 13, you must file with the court a plan to
       Chapter 12: Repayment plan for family farmers                   repay your creditors all or part of the money that you owe
                   or fishermen                                        them, usually using your future earnings. If the court
                                                                       approves your plan, the court will allow you to repay your
                                                                       debts, as adjusted by the plan, within 3 years or 5 years,
               $200   filing fee                                       depending on your income and other factors.
       +        $75   administrative fee
                                                                       After you make all the payments under your plan, many
               $275   total fee
                                                                       of your debts are discharged. The debts that are not
                                                                       discharged and that you may still be responsible to pay
       Similar to chapter 13, chapter 12 permits family farmers
                                                                       include:
       and fishermen to repay their debts over a period of time
       using future earnings and to discharge some debts that
       are not paid.                                                        domestic support obligations,
                                                                            most student loans,
                                                                            certain taxes,
       Chapter 13: Repayment plan for individuals with
                   regular income                                           debts for fraud or theft,
                                                                            debts for fraud or defalcation while acting in a
                                                                            fiduciary capacity,
                 $235    filing fee
           +      $75    administrative fee
                                                                            most criminal fines and restitution obligations,
                 $310    total fee
                                                                            certain debts that are not listed in your bankruptcy
                                                                            papers,
       Chapter 13 is for individuals who have regular income
       and would like to pay all or part of their debts in
                                                                            certain debts for acts that caused death or personal
       installments over a period of time and to discharge
                                                                            injury, and
       some debts that are not paid. You are eligible for
       chapter 13 only if your debts are not more than certain
                                                                            certain long-term secured debts.
       dollar amounts set forth in 11 U.S.C. § 109.
       Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 4
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                                                                       A married couple may file a bankruptcy case together--
         Warning: File Your Forms on Time                              called a joint case. If you file a joint case and each
                                                                       spouse lists the same mailing address on the
         Section 521(a)(1) of the Bankruptcy Code requires             bankruptcy petition, the bankruptcy court generally will
         that you promptly file detailed information about             mail you and your spouse one copy of each notice,
         your creditors, assets, liabilities, income, expenses         unless you file a statement with the court asking that
         and general financial condition. The court may                each spouse receive separate copies.
         dismiss your bankruptcy case if you do not file this
         information within the deadlines set by the
         Bankruptcy Code, the Bankruptcy Rules, and local
         rules of the court.                                           Understand which services you could
                                                                       receive from credit counseling agencies
         For more information about the documents and
         their deadlines, go to:
                                                                       The law generally requires that you receive a credit
         http://www.uscourts.gov/bkforms/bankruptcy_forms              counseling briefing from an approved credit counseling
         .html#procedure.                                              agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                       case, both spouses must receive the briefing. With
                                                                       limited exceptions, you must receive it within the 180
                                                                       days before you file your bankruptcy petition. This
       Bankruptcy crimes have serious                                  briefing is usually conducted by telephone or on the
       consequences                                                    Internet.

           If you knowingly and fraudulently conceal assets or         In addition, after filing a bankruptcy case, you generally
           make a false oath or statement under penalty of             must complete a financial management instructional
           perjury--either orally or in writing--in connection with    course before you can receive a discharge. If you are
           a bankruptcy case, you may be fined, imprisoned, or         filing a joint case, both spouses must complete the
           both.                                                       course.

                                                                       You can obtain the list of agencies approved to provide
           All information you supply in connection with a             both the briefing and the instructional course from:
           bankruptcy case is subject to examination by the
           Attorney General acting through the Office of the           http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
           U.S. Trustee, the Office of the U.S. Attorney, and
           other offices and employees of the U.S. Department          In Alabama and North Carolina, go to:
           of Justice.                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                       ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

       Make sure the court has your mailing
       address                                                         If you do not have access to a computer, the clerk of the
                                                                       bankruptcy court may be able to help you obtain the list.
       The bankruptcy court sends notices to the mailing address
       you list on Voluntary Petition for Individuals Filing for
       Bankruptcy (Official Form 101). To ensure you receive
       information about your case, Bankruptcy Rule 4002
       requires that you notify the court of any changes in your
       address.
       Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                              page 5
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       B2030 (Form 2030) (12/15)
                                                                 UNITED STATES BANKRUPTCY COURT
                                                                  EASTERN DISTRICT OF CALIFORNIA
                                                                       SACRAMENTO DIVISION
       In re Joyanne Marie Smith                                                                                                           Case No.

                                                                                                                                           Chapter            7

                                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
       1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
          that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
          services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
          is as follows:

            For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                        $1,195.00
            Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                       $1,195.00
            Balance Due..............................................................................................................................................................
                                                                                                                                                               $0.00

       2. The source of the compensation paid to me was:
                              Debtor                                    Other (specify)

       3. The source of compensation to be paid to me is:
                              Debtor                                    Other (specify)

       4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                  associates of my law firm.

                  I have agreed to share the above-disclosed compensation with another person or persons who are not members or
                  associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
                  compensation, is attached.


       5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

            a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
            bankruptcy;

            b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

            c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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       B2030 (Form 2030) (12/15)

       6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
          Representation of the Debtor in adversary proceedings.




                                                                  CERTIFICATION
             I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
          representation of the debtor(s) in this bankruptcy proceeding.


                          05/15/2019                         /s/ Michael K. Moore
                             Date                            Michael K. Moore                           Bar No. 246791
                                                             Law Office of Michael K. Moore
                                                             210 E Center ST
                                                             Manteca, CA 95336
                                                             Phone: (209) 373-5815 / Fax: (844) 814-2419




           /s/ Joyanne Marie Smith
          Joyanne Marie Smith
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        Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                                    form and in Form 122A-1Supp:
        Debtor 1           Joyanne              Marie                 Smith
                           First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

        Debtor 2                                                                                      2. The calculation to determine if a presumption
        (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                         Means Test Calculation (Official Form 122A-2).
        United States Bankruptcy Court for the: EASTERN DIST. OF CALIFORNIA
                                                                                                      3. The Means Test does not apply now because
        Case number                                                                                      of qualified military service but it could apply
        (if known)                                                                                       later.

                                                                                                        Check if this is an amended filing

       Official Form 122A-1
       Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

       Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
       accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
       information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
       are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
       military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
       122A-1Supp) with this form.


        Part 1:       Calculate Your Current Monthly Income

       1.   What is your marital and filing status? Check one only.

                 Not married. Fill out Column A, lines 2-11.

                 Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

                 Married and your spouse is NOT filing with you. You and your spouse are:

                      Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

                      Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
                      declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
                      and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


            Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
            bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
            August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
            in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
            income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                                   Column A        Column B
                                                                                                   Debtor 1        Debtor 2 or
                                                                                                                   non-filing spouse

       2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                        $230.94
            (before all payroll deductions).

       3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00
            if Column B is filled in.




       Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                               page 1
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       Debtor 1        Joyanne Marie Smith                                                                                                 Case number (if known)

                                                                                                                                                Column A      Column B
                                                                                                                                                Debtor 1      Debtor 2 or
                                                                                                                                                              non-filing spouse

       4.   All amounts from any source which are regularly paid for household                                                                        $0.00
            expenses of you or your dependents, including child support. Include
            regular contributions from an unmarried partner, members of your household,
            your dependents, parents, and roommates. Include regular contributions from
            a spouse only if Column B is not filled in. Do not include payments you listed
            on line 3.

       5.   Net income from operating a business, profession, or farm

                                                                     Debtor 1                       Debtor 2

            Gross receipts (before all                                            $0.00
            deductions)

            Ordinary and necessary operating                     –                $0.00         –
            expenses
                                                                                                                              Copy
            Net monthly income from a business,                                   $0.00                                       here                    $0.00
            profession, or farm

       6.   Net income from rental and other real property

                                                                     Debtor 1                       Debtor 2

            Gross receipts (before all                                            $0.00
            deductions)

            Ordinary and necessary operating                     –                $0.00         –
            expenses
                                                                                                                              Copy
            Net monthly income from rental or                                     $0.00                                       here                    $0.00
            other real property

       7.   Interest, dividends, and royalties                                                                                                        $0.00
       8.   Unemployment compensation                                                                                                                 $0.00
            Do not enter the amount if you contend that the amount received was a
            benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                                     $0.00
                For you............................................................................................................................

                For your spouse..............................................................................................................

       9.   Pension or retirement income. Do not include any amount received that                                                                     $0.00
            was a benefit under the Social Security Act.




       Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                          page 2
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       Debtor 1        Joyanne Marie Smith                                                                                Case number (if known)

                                                                                                                              Column A              Column B
                                                                                                                              Debtor 1              Debtor 2 or
                                                                                                                                                    non-filing spouse

       10. Income from all other sources not listed above. Specify the source and
           amount. Do not include any benefits received under the Social Security Act
           or payments received as a victim of a war crime, a crime against humanity,
           or international or domestic terrorism. If necessary, list other sources on a
           separate page and put the total below.




            Total amounts from separate pages, if any.                                                                  +                          +
       11. Calculate your total current monthly income.
           Add lines 2 through 10 for each column.                                                                                 $230.94        +                         =           $230.94
           Then add the total for Column A to the total for Column B.
                                                                                                                                                                               Total current
                                                                                                                                                                               monthly income

        Part 2:          Determine Whether the Means Test Applies to You

       12. Calculate your current monthly income for the year. Follow these steps:

            12a.    Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                               Copy line 11 here                       12a.                $230.94

                    Multiply by 12 (the number of months in a year).                                                                                                             X       12

            12b.    The result is your annual income for this part of the form.                                                                                         12b.         $2,771.28

       13. Calculate the median family income that applies to you. Follow these steps:

            Fill in the state in which you live.                                            California

            Fill in the number of people in your household.                                        1

                                                                                                                                                                               $57,962.00
            Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                                  13.
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.


       14. How do the lines compare?

            14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                           Go to Part 3.
            14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                           Go to Part 3 and fill out Form 122A-2.




       Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                                           page 3
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       Debtor 1      Joyanne Marie Smith                                                            Case number (if known)

        Part 3:       Sign Below

             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


             X    /s/ Joyanne Marie Smith                                                X
                  Joyanne Marie Smith, Debtor 1                                              Signature of Debtor 2

                  Date 5/15/2019                                                             Date
                       MM / DD / YYYY                                                               MM / DD / YYYY

             If you checked line 14a, do NOT fill out or file Form 122A-2.

             If you checked line 14b, fill out Form 122A-2 and file it with this form.




       Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                              page 4
